Case: 1:20-cv-02453 Document #: 20 Filed: 06/10/20

Page 1 of 1 PagelD #:224

U.S. District Court for the Northern District Of Illinois
Attorney Appearance Form

 

Case Title: Evans, et al. v. Dart, et al.

Case Number: 20-cv-2453

An appearance is hereby filed by the undersigned as attorney for:
Thomas J. Dart, Sheriff of Cook County; County of Cook, Illinois

Attorney name (type or print): Mona Lawton
Firm: Cook County State's Attorney's Office
Street address: 500 Richard J. Daley Center
City/State/Zip: Chicago, IL 60602

Bar ID Number: 6276611
(See item 3 in instructions)

Telephone

 

Email Address: mona.lawton@cookcountyil.gov
Are you acting as lead counsel in this case?
Are you acting as local counsel in this case?
Are you a member of the court’s trial bar? |

If this case reaches trial, will you act as the trial attorney?

 

If this is a criminal case, check your status.

 

 

 

Number: (312) 603-4186

 

 

 

 

 

 

 

 

 

 

 

 

 

 

| Yes No

Yes || No
w| Yes No
w| Yes No

 

 

 

 

 

 

Retained Counsel

[] Appointed Counsel
If

 

 

 

 

 

 

appointed counsel, are you

Federal Defender
CJA Panel Attorney

 

 

In order to appear before this Court an attorney must either be a member in good standing of this Court’s
general bar or be granted leave to appear pro hac vice as provided for by local rules 83.12 through 83.14.
| declare under penalty of perjury that the foregoing is true and correct. Under 28 U.S.C.§1746, this
statement under perjury has the same force and effect as a sworn statement made under oath.

Executed on

Attorney signature: —S/ Wa san.

(Use electronic signature if the appearance form is filed electronically.)

 

Revised 8/1/2015
